      CASE 0:18-cv-03364-PJS-TNL Document 17 Filed 05/22/19 Page 1 of 2



                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


Patricia Gegner,                                 Civil File No.: 0:18-cv-03364-PJS-TNL

              Plaintiff,

v.                                               STIPULATION FOR DISMISSAL
                                                      WITH PREJUDICE
Admiral Merchants Motor Freight, Inc.,

              Defendant.


       IT IS HEREBY STIPULATED AND AGREED, by and between Plaintiff Patricia

Gegner and Defendant Admiral Merchants Motor Freight, Inc., through their respective

counsel and pursuant to Rule 41(a)(1)(ii) of the Federal Rules of Civil Procedure, that all

claims asserted in the above-entitled litigation against Defendant Admiral Merchants

Motor Freight, Inc., including all claims for costs and attorney fees, shall be, and the same

are hereby, dismissed with prejudice and on the merits, but without further cost to any of

the parties hereto.

       IT IS FURTHER STIPULATED AND AGREED that the Court may forthwith enter

judgment of dismissal with prejudice and on the merits.
     CASE 0:18-cv-03364-PJS-TNL Document 17 Filed 05/22/19 Page 2 of 2



Dated: May 20, 2019                 s/ Daniel R. Olson
                                   Daniel R. Olson (#389235)
                                   Brittany Bachman Skemp (#395227)
                                   Bassford Remele P.A.
                                   100 South 5th Street, Suite 1500
                                   Minneapolis, MN 55402-1254
                                   Telephone: (612) 333-3000
                                   Facsimile: (612) 333-8829
                                   dolson@bassford.com
                                   bskemp@bassford.com

                                   Attorneys for Plaintiff


Dated: May 22, 2019                 s/ Margaret R. Ryan
                                   Margaret R. Ryan (#0331181)
                                   Erik E. Rootes (#0397664)
                                   Meagher & Geer, P.L.L.P.
                                   33 South Sixth Street, Suite 4400
                                   Minneapolis, MN 55402
                                   Telephone: (612) 338-0661
                                   Facsimile: (612) 338-8384
                                   E-mail: mryan@meagher.com
                                   E-mail: erootes@meagher.com

                                   Attorneys for Defendant
12766351.1




                                     2
